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Claim Chart for Saudi Aramco Trading Company (SATC) Homepage
Infringing on US Patents 8108792, 9405852, 7712044 and 10296198

Screen shot captured in December 2019

 

 

 

Patent 8108792 Title | Automated scrolling of browser content and automated activation of browser links
. Saudi Aramco Energy Ventures homepage: https://aramcotrading.com/ has a total

Independent Claim | of 4 images that automatically scrolls into and out of a designated display area at

1. A method of the top portion of the page in time-sequence. Each image displaying for a period of

displaying and time, then it automatically scrolls out of the display area to the left and off the

navigating through a | display screen, while the next image automatically scrolls into the display area

website, comprising:
displaying on a
display of a
computer a page of
the website;

and during the
displaying operation
and without any
user-initiated actions,
automatically
scrolling at least part
of the page

while the user of the
computer does

from the right, and displays for a next period of time, while the user does nothing.

 

Screen shot when arriving at the home page URL https://aramcotrading.com/ :

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aramco &

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the apparatus

nothing.

Independent Claim After the above content-set displays for a period of time, without any user-initiated
11 action, it automatically scrolls off a new mage/content is automatically scrolled
An apparatus for into view in this part of the page.

displaying and & CO @ arrecetrasing.com =z & eS
navigating through a

website, a = vin aramco Bi

comprising a
computer configured
to perform a method
comprising:
displaying on a
computer display a
browser window
having a field of
view for displaying a
page of the website
within the field of

 

 

 

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view; and during the

displaying operation
and without any
user-initiated actions,
automatically
scrolling at least part
of the page while the
user of the computer
does nothing.

Note: The 4 images
then continue to
automatically loop in
time-sequenced
cycles displaying
time-sequentially in
the designated
display area in this

 

After the above content-set displays for a period of time, without any user-initiated
action, it automatically scrolls to the left off the screen, and a new mage/content is
automatically scrolled into view in the designated display area in this part of the
page from the right.

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top portion of the
page, without any
user-initiated action
as the previously
displaying image/
content-set
automatically scrolls
off the portion of the
page while the next
image/content-set
scrolls into view in
this portion of the
page, automatically,
while the user does
nothing to cause this
to happen.

Note A: The 4
content-sets continue
to automatically
cycle through the
designated display
area in this portion of
the page each taking
its turn in a time-
shared fashion.

 

 

fter the above content-set displays for a period of time, without any user-initiated
action, it automatically scrolls to the left off the screen, and a new mage/content is
automatically scrolled into view in the designated display area in this part of the
page from the right.

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A floating icon structure in the form of 4 circular dots is displayed at the center of
the bottom of each displaying content-set, one of which is darkened black while
the others are colored grey.

The set of the non-directional floating icon structure of 4 circular dots instructs the
viewer that there are a total of 4 content-sets which are to be displayed in this
designated display area, and the darkened-black dot instructs viewer which one of
the line-up of 4 images/content-sets is presently displaying in this designated
display area. Each of the dots can be used to command the associated content-set

 

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Note B: Each of the {to be instantly displayed in the display area, in or out of its turn. This feature

content-set can be infringes on 7,712,044.

embedded with a

link, linking to a There is also a set of floating directional icon structure in two arrows on the left
page with more side and the right side of the display area, the one on the left pointing to the left,
detailed information {and the one on the right pointing to the right. The directional floating icon allows a
on the subject user/viewer/Vvisitor to the site to command scrolling to the next or the previously
depicted in the displaying image/content-set. This feature also infringe on 7,712,044.

content-set. When
acted upon by the The display operations on the site also infringe on 9405852, 10296198 other
viewer, the linked patents in this family of patented inventions.

page is displayed for
the viewer.

 

 

 

Note C:
Patent 8108792 contains 2 Independent claims, and 20 Total claims.

Note D:
US Patent 8108792 is one of the patents belonging to the family of Patented Inventions: 7308653,
7712044, 8108792, 8850352, 9053205, 9405852 and 10296198

https://aramcotrading.com/ similarly infringes on other patents in the family of patented inventions
teaching a variety of methods and systems to dynamically and attractively display many
images/content-sets in a prominent display area of a webpage in order to attract more viewer
attention by providing more information-value dynamically in a limited prominent display area on
a webpage.

Note E:
Each of the images/content-sets can be programed to represent a subject or object, when clicked,
brings a webpage related to the subject or the object to display for the user.

Patents can be downloaded and printed for free from: www.freepatentsonline.com by entering
each patent number.

7712044 Automated scrolling of browser content and automated activation of browser links

Abstract:

An automatic scrolling mechanism converts an information repository into media that can actively present
and “push” information to the users/viewers while retaining existing “pull” and interactivity functions.
Automatic scrolling can be controlled by placing a cursor on control icons, such as boxes, lines, and arrow
clusters. While the cursor is on an icon, automatic scrolling brings into view content that extends beyond
the field of view. The scrolled content is moved into the field of view of the display window in a
predetermined direction designated by the icon. Sub-windows are also designed to be independently and
automatically scrolled or floated with respect the main window. Links created in an information
repository may be automatically activated to retrieve the linked information, and to automatically present
and scroll the information. As the content is automatically scrolled, the repository is pushed and the user
is allured to further navigate through the repository.

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What is claimed is:

1. A method of automatically scrolling displayed content, comprising: in an electronic device with a
display and a user input mechanism: displaying content in a display window; displaying a floating icon;
and in response to placement by a user of a cursor on the floating icon, and without any further user
action, automatically scrolling through content extending beyond a display window into a field of view of
the display window in a predetermined direction designated by the floating icon, wherein the automatic
scrolling continues without user input.

2. The method according to claim 1, wherein: the floating icon has a top end and a bottom end; and the
automatic scrolling further includes: when the cursor is placed on the top end, automatically scrolling the
content down to bring the content within the field of view; and when the cursor is placed on the bottom
end, automatically scrolling the content up to bring the content within the field of view.

3. The method according to claim 1, wherein: the floating icon has a right-side end and a left side end; and
the automatic scrolling further includes: when the cursor is placed on the right-side, automatically
scrolling the content left to bring the content within the field of view; and when the cursor is placed on the
left-side end, automatically scrolling the content right to bring the content within the field of view.

4, The method according to claim 1, further comprising: in response to movement by the user of the
cursor away from the floating icon.

5. The method according to claim 1, further comprising: during the automatic scrolling, determining that a
full-screen shift of the content has occurred; and in response to the determining automatically pausing the
automatic scrolling.

6. The method according to claim 1, wherein the display window is a browser window, and the content is
a page.

7. The method according to claim 1, further comprising: activating a user control to perform at least one
of: begin automatic scrolling, stop automatic scrolling, advance scrolling a page, increase scrolling speed,
and decrease scrolling speed.

8. A method of automatically scrolling displayed content comprising: in an electronic device with a
display and a user input mechanism: displaying content in a display window; displaying a plurality of
direction indicators; and in response to placement by a user of a cursor on at least one direction indicator
of the plurality of direction indicators, and without any further user action, automatically scrolling through
content extending beyond a display window into a field of view of the display window in a predetermined
direction designated by the at least one direction indicator, wherein the automatic scrolling continues
without user input.

9. An electronic device with a display having a graphical user interface, comprising: a browser display
window having a field of view; a user input mechanism; and a floating icon for effectuating automatic
scrolling through content in response to a cursor being placed on the floating icon, wherein the automatic
scrolling continues without user input.

10. The electronic device according to claim 9, wherein: the floating icon has a top end and a bottom end;
and the automatic scrolling further includes: when the cursor is placed on the top end, automatically
scrolling the content down to bring the content within the field of view; and when the cursor is placed on
the bottom end, automatically scrolling the content up to bring the content within the field of view.

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11. The electronic device according to claim 9, wherein: the floating icon has a right-side end and a left
side end; and the automatic scrolling further includes: when the cursor is placed on the right-side end,
automatically scrolling the content left to bring the content within the field of view; and when the cursor
is placed on the left-side end, is automatically scrolling the content right to bring the content within the
field of view.

12. The electronic device according to claim 9, further comprising: during the automatic scrolling,
determining that a full-screen shift of the content has occurred; and in response to the determining
automatically stopping the automatic scrolling.

13. The electronic device according to claim 9, further comprising: in response to movement by the user
of the cursor away from the floating icon, automatically stopping the automatic scrolling.

14. The electronic device according to claim 9, wherein the browser display window is a main display
window, the electronic device being further configured to display a second display window having a
second field of view within the main display window, the second display window comprising; a first
floating icon having first and second ends of the first floating icon oriented in a vertical plane for
effectuating automatic scrolling vertically through content within the second field of view in direct
response to the cursor being placed on a respective one of the first and second ends of the first floating
icon; and a second floating icon having third and fourth ends of the second floating icon oriented in a
horizontal plane for effectuating automatic scrolling horizontally through content within the second field
of view in direct response to the cursor being placed on a respective one of the third and fourth ends of the
second floating icon.

15. A method of displaying and navigating through a website comprising: displaying on a display of a
computer a page of the website; and during the displaying operation and without any user-initiated
actions, automatically scrolling at least part of the page while the user of the computer does nothing.

16. The method according to claim 15, wherein the page includes at least two independent windows.

17. The method according to claim 16, further comprising: automatically scrolling at least part of the at
least two independent windows, wherein the at least two independent windows are independently
scrolled.

18. The method according to claim 16, further comprising: automatically scrolling at least part of a first
independent window of the at least two independent windows at a first speed; and automatically scrolling
at least part of a second independent window of the at least two independent windows at a second speed,
wherein the second speed is different from the first speed.

19. The method according to claim 16, further comprising: in response to manual inputs by a user,
scrolling at least part of a first independent window of the at least two independent windows; and
automatically scrolling at least part of a second independent window of the at least two independent
windows.

20. The method of claim 15, further comprising: stopping the automatic scrolling in response to a user
input.

21. An apparatus for displaying and navigating through a website, the apparatus comprising a computer
configured to perform the following: displaying in a computer display a browser window having a field of
view for displaying a webpage of the website within the field of view; and during the displaying operation
and without any user-initiated actions, automatically scrolling at least part of the webpage while the user
of the computer does nothing.

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22. The apparatus according to claim 21, wherein the webpage includes at least two independent
windows.

23. The apparatus according to claim 22, further comprising: automatically scrolling at least part of the at
least two independent windows, wherein the at least two independent windows are independently
scrolled.

24. The apparatus according to claim 22, wherein a first independent window of the at least two
independent windows is automatically scrolled at a first speed; and a second independent window of the
at least two independent windows is automatically scrolled at a second speed, wherein the second speed is
different from the first speed.

25. The apparatus according to claim 22, further comprising: means for receiving manual inputs from a
user and scrolling at least part of a first independent window of the at least two independent windows; and
means for automatically scrolling at least part of a second independent window of the at least two
independent windows.

9,405,852 Automated Changing of Content Set Displaying in the Display Screen of a Browser and
Automated Activation of Links Contained in the Displaying Content Set.

1: A computer implemented method of programming digital content to be displayed on an interactive
display screen of an electronic display device to be viewed by a user, the interactive display screen is
actionable by a user command, the method comprising: displaying a page of content on the interactive
display screen, wherein the page comprises a designated area for displaying one or more of a plurality of
sets of content wherein the space required to display the plurality of sets of content collectively is larger
than the space available in the designated area at a given point in time; displaying, in the designated area,
a first set of content of the plurality of sets of content for a first period of time; and automatically moving,
into the designated area and replacing the first set of content, a second set of content of the plurality of
sets of content for a second period of time, thus continually and automatically progressing to display a
next set of content of the plurality of sets of content by replacing the immediate preceding set of content
currently displayed in the designated area; wherein each set of content comprises at least one actionable
link linking to additional actionable content related to an object represented in the respective set of
content currently being displayed in the designated area; and displaying, upon activation of the at least
one of the actionable links, the additional content related to the object by the display device, separately
from the displaying of the each set of content in the designated area.

11. A system for interactively displaying digital content on an electronic display device, the system
manipulating the digital content to display in a dynamic and user friendly manner, the system comprising
at least one computing device comprising a non-transitory computer readable storage media further
comprising executable instructions, further comprising: at least one hardware processor coupled to the
non-transitory computer readable storage media which executes the instructions and is configured to:
display a page of content on an interactive display screen of the device, wherein the page comprises a
designated area for displaying one or more of a plurality of sets of content wherein the space required to
display the plurality of sets of content collectively is larger than the space available in the designated area
at a given point in time; display, in the designated area, a first set of content of the plurality of sets of
content for a first period of time; and automatically moving, into the designated area and replacing the
first set of content, a second set of content of the plurality of sets of content for a second period of time,
thus continually and automatically progressing to display a next set of content of the plurality of sets of

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content by replacing the immediate preceding set of content currently displayed in the designated area;
wherein each set of content comprises at least one actionable link linking to additional actionable content
related to an object represented in the respective set of content currently being displayed in the designated
area; and display, upon activation of the at least one of the actionable links, the additional content related
to the object by the display device, separately from the displaying of the each set of content in the
designated area.

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1. A computer implemented method for displaying and navigating a webpage, comprising: displaying a
webpage, wherein the webpage contains a designated area displaying a first set of content comprising a
pictorial digital representation and wherein the first set of content is displayed in a stationary fashion for a
period of time; and automatically scrolling without any user-initiated actions the content within the
designated area such that the first set of content is replaced by a second set of content comprising a
pictorial digital representation, wherein the second set of content is displayed in a stationary fashion for a
period of time.

14. A computer implemented method for displaying and navigating a webpage, comprising: displaying a
webpage, wherein the webpage contains a designated area displaying a first set of content comprising a
digital representation of at least one object and wherein the first set of content is displayed in a stationary
fashion for a period of time and contains a link to a webpage displaying information about the at least one
object digitally represented in the first set of content; and automatically scrolling without any user-
initiated actions the content within the designated area such that the first set of content is replaced by a
second set of content comprising a digital representation of at least one object, wherein the second set of
content is displayed in a stationary fashion for a period of time and contains a link to a webpage
displaying information about the at least one object digitally represented in the second set of content.

10296198: Automated changing of a content set displaying in a designated display area of a
webpage displaying on a display screen of a browser

Abstract: A method and system to program multiple sets of digital content to be displayed in time
sequence in a designated display area in a webpage, and automatically changing the displaying content-
set, cycling through the multiple sets of content in the designated display area without user initiated action
for each change of the displaying content-set.

1. A method of programming a webpage of a website to time-share at least one designated displaying area
of a part of the webpage to display a plurality of sets of content one set of content at a time, each for a
pre-designated time interval when the webpage is accessed by a user through entering a uniform resource
locater (URL) of the webpage into a web-browser on an interactive display screen of an electronic display
device, the method comprising: designating and defining the at least one designated displaying area in a
user desired displaying area on a desired part of the webpage for displaying a plurality of sets of content;
designing a plurality of sets of content that a website owner most want users of the website to see on this
part of the webpage, and program the plurality of sets of content to be displayed in the designated
displaying area of the webpage and store them in the database of the webpage; designating a time interval
for displaying each set of the plurality of sets of content; programming the displaying of the webpage to
automatically display the plurality of sets of content one at a time in the designated displaying area of the
webpage when the URL is entered into the web-browser by the user, each set of content displaying for a
pre-designated time interval for the set of content, including: after a first set of content of the plurality of

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sets of content displaying for a first interval of time, automatically removing the first set of content from
the designated displaying area, and moving into the designated displaying area a second set of content of
the plurality of sets of content for a second interval of time, the second set of content replacing the first set
of content so that there is continual and automatic progressing to display a next set of content of the
plurality of sets of content by replacing an immediately preceding set of content displayed in the
designated displaying area, and continually looping through the plurality of sets of content when no user
command is issued for a change, automated looping requiring no user action, except for when an initiation
action to commence automated looping is desired; and programming a user-website interaction
mechanism used with the designated displaying area of the webpage for the user to receive instructions
from the website and for the website to receive a user command.

13. A system comprising a plurality of networked computers and electronic display devices loaded with
software programs including website hosting utilities, databases, web-browser software and webpage
programming and displaying software linking to the web-browser and the electronic display devices; the
system further comprising: a webpage of a website programmed to time-share a designated displaying
area in a part of the webpage to display a plurality of sets of content one set of content at a time, each for
a pre-designated time interval when the webpage is accessed by a user through entering a uniform
resource locater (URL) of the webpage into a web-browser on an interactive display screen of an
electronic display device, the system enables: the designation and defining of a displaying area on a part
of the webpage for displaying a plurality of sets of important content that a website owner most wants
users of the website to see in this designated display area, designing the plurality of sets of content to
store in a easily updatable fashion in the database for the webpage and designating a desired time interval
to display each set of the plurality of the content set and store the time intervals in an easily updatable
fashion in the database of the webpage, displaying the plurality of sets of content in the designated
displaying area of the webpage displaying in a web-browser each for a designated time interval when a
user enters the URL of the webpage into the web-browser on the electronic display device; the web-
browser displaying the webpage on the electronic device automatically displays the plurality of sets of
content one at a time in the designated displaying area of the webpage when the URL is entered into the
web-browser by the user, each set of content displaying for a pre-designated time interval for the set of
content, including: after a first set of content of the plurality of sets of content displaying for a first
interval of time, automatically removing the first set of content from the designated displaying area, and
moving into the designated displaying area a second set of content of the plurality of sets of content for a
second interval of time, the second set of content replacing the first set of content so that there is continual
and automatic progressing to display a next set of content of the plurality of sets of content by replacing
an immediately preceding set of content displayed in the displaying area, and continually looping through
the plurality of sets of content when no user command is issued for a change, automated looping requiring
no user action, except for when desired an initiation action to commence automated looping; and a
mechanism allowing user-website interaction used with the designated displaying area of the webpage for
the user to receive instructions from the website and the website to receive a user command.

Complete Specifications and Claims of Patents 7308653, 7712044, 8108792, 8850352, 9053205, and
9405852 can be downloaded for free from: www.freepatentsonline.com by entering each patent number.

 

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